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                        EXHIBIT B
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From:                               Benjamin Bard
Sent:                               Wednesday, May 22, 2024 11:04 AM
To:                                 Serena M. Kurtz; Elaine Glotz; patrick@getkurtz.com; Serena Kurtz
Cc:                                 Benjamin Briggs; Erica Pope
Subject:                            RE: Justin Nelson / Rhyno Construction


I will call you at 1:00 p.m. tomorrow.

From: Serena M. Kurtz <smk@kubickidraper.com>
Sent: Wednesday, May 22, 2024 8:50 AM
To: Benjamin Bard <Benjamin.Bard@arlaw.com>; Elaine Glotz <Elaine.Glotz@arlaw.com>; patrick@getkurtz.com;
Serena Kurtz <serena@getkurtz.com>
Cc: Benjamin Briggs <Ben.Briggs@arlaw.com>; Erica Pope <Erica.Pope@arlaw.com>
Subject: RE: Justin Nelson / Rhyno Construction

I won’t be in the oﬃce unfil tomorrow. The only fime I have available is 1:00pm.


From: Benjamin Bard [mailto:Benjamin.Bard@arlaw.com]
Sent: Monday, May 20, 2024 9:25 AM
To: Serena M. Kurtz; Elaine Glotz; patrick@getkurtz.com; Serena Kurtz
Cc: Benjamin Briggs; Erica Pope
Subject: RE: Justin Nelson / Rhyno Construction
Importance: High

Serena,

Please let me know if you are available today for a call to confer on a motion to compel regarding the issues
referenced in my e-mail below.

Thanks,

Ben

From: Benjamin Bard
Sent: Monday, May 13, 2024 10:55 AM
To: Serena M. Kurtz <smk@kubickidraper.com>; Elaine Glotz <Elaine.Glotz@arlaw.com>; patrick@getkurtz.com; Serena
Kurtz <serena@getkurtz.com>
Cc: Benjamin Briggs <Ben.Briggs@arlaw.com>; Erica Pope <Erica.Pope@arlaw.com>
Subject: RE: Justin Nelson / Rhyno Construction
Importance: High

Serena,

Plainfiﬀ’s inifial disclosures are deﬁcient. Preliminarily, Plainfiﬀ cannot simply list a general category of his “treafing
physicians.” Pursuant to Rule 26(a)(1)(i), Plainfiﬀ is required to idenfify each individual likely to have discoverable
informafion that he may use to support his claims by name, as well as include such an individual’s address and
telephone number. Addifionally, Plainfiﬀ has failed to properly provide a “computafion of each category of damages
                                                               1
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claimed” by Plainfiﬀ and make available the documents or other evidenfiary material on which his computafion is based.
Stafing that “a ﬁrm number has not been determined” is plainly insuﬃcient to comply with Rule 26(a)(1)(iii). Indeed,
Rule 26(a)(1)(E) states that “[a] party must make its inifial disclosures based on the informafion then reasonably
available to it [and a] party is not excused from making its disclosures because it has not fully invesfigated the case . . . .”
Courts in this district have roufinely required compliance with this rule, even when based on esfimates. See Xiong v.
United States, Case No: 6:22-cv-1957-RBD-LHP, 2023 WL 5672256, at *1 (M.D. Fla. Sep. 1, 2023) (“‘Plainfiﬀ is obligated
to comply with Rule 26, and compute it as it stands now, bearing in a mind that a party is under a duty to supplement its
response, as appropriate.’”) (quofing Oliver v. City of Orlando, No. 6:06-cv-1671-Orl-31DAB, 2007 WL 3232227, at *3
(M.D. Fla. Oct. 31, 2007)); see also MS Health, Inc. v. Catholic Charifies, Case No. 8:20-cv-2118-VMC-AAS, 2021 WL
1338836, at *2 (M.D. Fla. April 9, 2021).

In light of the foregoing, please provide amended inifial disclosures that speciﬁcally idenfify and provide contact
informafion for Plainfiﬀ’s treafing physicians, as well as contain a computafion of damages in compliance with Rule
26(a)(1)(iii) and descripfion of documents on which the computafion is based, no later than May 17, 2024. If you are
unwilling to do so, please let me know so that we can schedule a conferral call on a mofion to compel.

Thanks,

Ben




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